                                                                                                                      Case 2:18-cv-00187-JAD-GWF Document 29 Filed 08/29/18 Page 1 of 3



                                                                                                                  1   P. STERLING KERR, ESQ.
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                                                                                                                  2   GEORGE E. ROBINSON, ESQ.
                                                                                                                  3   Nevada Bar No. 9667
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                                                                                                                      Attorneys for Plaintiffs
                                                                                                                  8
                                                                                                                                              UNITED STATES DISTRICT COURT
LAW OFFICES OF P. STERLING KERR




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                                                                                                                                                     DISTRICT OF NEVADA
                                                        Telephone: (702) 451-2055 Facsimile: (702) 451-2077




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                                  ATTORNEYS AT LAW




                                                                                                                       INTERNATIONAL MARKETS LIVE,
                                                                                                                                                                    Case No.: 2:18-cv-00187-JAD-GWF
                                                                                                                 12    INC., a New York corporation;
                                                                                                                       CHRISTOPHER TERRY, an individual;
                                                                                                                 13
                                                                                                                                       Plaintiffs,
                                                                                                                 14

                                                                                                                 15    v.

                                                                                                                 16    ROBERT HALTERMAN, an individual;
                                                                                                                       CHAKRA CAPITAL GROUP, an
                                                                                                                 17    unknown entity; SCOTT CARNEY, an
                                                                                                                       individual; ETHAN VANDERBUILT, an
                                                                                                                 18
                                                                                                                       individual; DAVE MACKINSON, an
                                                                                                                 19    individual;

                                                                                                                 20                   Defendants.

                                                                                                                 21

                                                                                                                 22

                                                                                                                 23                NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

                                                                                                                 24          Plaintiffs, INTERNATIONAL MARKETS LIVE, INC., and CHRISTOPHER

                                                                                                                 25   TERRY by and through their counsel of record P. Sterling Kerr, Esq., of the Law Offices of

                                                                                                                 26   P. Sterling Kerr, Pursuant to FRCP 41(a)(1)(A)(i),

                                                                                                                 27   ///

                                                                                                                 28   ///

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 1   hereby voluntarily dismiss their Amended Complaint in the above-entitled action without

 2   prejudice as to the Defendants ETHAN VANDERBUILT only.

 3          DATED this 29th day of August, 2018.

 4

 5

 6                                             LAW OFFICES OF P. STERLING KERR

 7                                                /s/ George Robinson
 8                                             P. STERLING KERR, ESQ.
                                               Nevada Bar No. 3978
 9                                             GEORGE E. ROBINSON, ESQ.
                                               Nevada Bar No. 9667
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                                               Attorneys for Plaintiffs
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 1                                CERTIFICATE OF SERVICE

 2          The undersigned hereby certifies on August 29th, 2018, a true and correct

 3   copy of the NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE was served

 4   to the following at their last known address(es), facsimile numbers and/or e-mail/other

 5   electronic means, pursuant to:

 6
            ______         BY MAIL: N.R.C.P. 5(b), I deposited by first class United States
 7                         mailing, postage prepaid at Henderson Nevada;

 8          ______         BY FAX: E.D.C.R. 7.26(a), I served via facsimile at the
                           telephone number provided for such transmissions.
 9
            ______         BY MAIL AND FAX: N.R.C.P 5(b), I deposited by first class
10                         United States mail, postage prepaid in Henderson, Nevada; and via
                           facsimile pursuant to E.D.C.R. 7.26(a)
11
            __X___         BY E-MAIL AND/OR ELECTRONIC MEANS: N.R.C.P.
12                         5(b)(2)(D) and addresses (s) having consented to electronic service, I
                           via e-mail or other electronic means to the e-mail address(es) of the
13                         addressee(s).

14   ETHAN VANDERBUILT
     Address Unknown
15

16                                                   /s/ Jennifer Hogan
17                                                An employee of the LAW OFFICES OF
                                                  P. STERLING KERR
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